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11                               UNITED STATES DISTRICT COURT
12                             NORTHERN DISTRICT OF CALIFORNIA
13                                 SAN FRANCISCO DIVISION
14
15   UNITED STATES OF AMERICA,                 )   No.: CR 05-00465-JSW
                                               )
16           Plaintiff,                        )
                                               )   [PROPOSED] ORDER EXCLUDING
17      v.                                     )   TIME UNDER THE SPEEDY TRIAL ACT
                                               )
18   ZIBU “BOB” GAO,                           )
     ZHICHENG ZENG,                            )
19   LI HUA MA,                                )
        aka Lin,                               )
20      aka Lene Lam,                          )
     XIANG ZHUGE,                              )
21   RALPH FRANK PETERS,                       )
        aka Peter,                             )
22      aka Patrick, and                       )
     LIWEI TAN KUO,                            )
23      aka Grace Tan,                         )
        aka Li Wei Tan,                        )
24      aka Tan Kuo Liwei,                     )
        aka Grace Kuo,                         )
25      aka Li Wei Kuo,                        )
                                               )
26           Defendants.                       )
                                               )
27
28
     [PROPOSED] ORDER EXCLUDING TIME
     UNDER THE SPEEDY TRIAL ACT
     No.: CR 05-00465-JSW
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1           This matter came on the calendar of the Honorable Jeffrey S. White on November 17,
2    2005. At the parties’ request, the Court continued the matter until January 19, 2006. The parties
3    requested an exclusion of time under the Speedy Trial Act on two bases.
4           First, the parties requested an exclusion of time based upon the need for effective
5    preparation of counsel. See 18 U.S.C. § 3161(h)(8)(A) and (B)(iv). All defense counsel will
6    need ample time to review the voluminous discovery in this case. While most of the discovery
7    has been turned over, there is some outstanding discovery remaining.
8           Second, due to the number of defendants and the quantity of discovery, this case is so
9    complex that it is unreasonable to expect adequate preparation within the time limits of the
10   Speedy Trial Act. See 18 U.S.C. § 3161(h)(8)(B)(ii).
11          Therefore, the parties are requesting an exclusion of time under the Speedy Trial Act.
12   The parties agree that the time from November 17, 2005 through January 19, 2006 should be
13   excluded in computing the time within which trial must commence. See 18 U.S.C. §§
14   3161(h)(1)(G), 3161(h)(8)(A) and (B)(iv).
15          Accordingly, the Court HEREBY ORDERS that the time from November 17, 2005
16   through January 19, 2006 is excluded under the Speedy Trial Act, 18 U.S.C. § 3161.
17          The Court finds that the failure to grant the requested exclusion would deny the
18   defendants reasonable time necessary for effective preparation, taking into account the exercise
19   of due diligence. See 18 U.S.C. § 3161(h)(8)(B)(iv).
20          The Court further finds that this case is so complex that it is unreasonable to expect
21   adequate preparation for pretrial proceedings or for the trial itself within the time limits
22   established by the Speedy Trial Act. See 18 U.S.C. § 3161(h)(8)(B)(ii).
23          The Court finds that the ends of justice served by granting the requested exclusion
24   outweigh the best interest of the public and the defendants in a speedy trial and in the prompt
25   disposition of criminal cases. See 18 U.S.C. § 3161(h)(8)(A). The Court therefore concludes
26   that this exclusion of time should be made under 18 U.S.C. § 3161(h)(8)(A).
27
28
     [PROPOSED] ORDER EXCLUDING TIME
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1           SO ORDERED.
2    DATED: December 22, 2005           ___________________________________
                                        HONORABLE JEFFREY S. WHITE
3                                       UNITED STATES DISTRICT JUDGE
4
5    Approved as to form:
6
7    /s/ Alan Dressler
     ALAN DRESSLER
8    Counsel for Defendant GAO
9
     /s/ Tony Tamburello
10   TONY TAMBURELLO
     Counsel for Defendant ZENG
11
12   /s/ Harris Taback
     HARRIS TABACK
13   Counsel for Defendant ZHUGE
14
     /s/ Frank Bell
15   FRANK BELL
     Counsel for Defendant MA
16
17   _/s/ Juliana Drous
     JULIANA DROUS
18   Counsel for Defendant PETERS
19
     _/s/ Richard Bitters
20   RICHARD BITTERS
     Counsel for Defendant KUO
21
22   /s/ Monica Fernandez
     MONICA FERNANDEZ
23   Assistant United States Attorney
     Counsel for the United States
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     [PROPOSED] ORDER EXCLUDING TIME
     UNDER THE SPEEDY TRIAL ACT
     No.: CR 05-00465-JSW                  3
